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 16    BALKAMP, INC. and NATIONAL AUTOMOTIVE PARTS ASSOCIATION
 17
 18                          UNITED STATES DISTRICT COURT
 19                         CENTRAL DISTRICT OF CALIFORNIA
 20
 21    MAG INSTRUMENT, INC.,                        Case No. CV 07-2119 CAS (AGRx)
 22                    Plaintiff,                   CONSENT JUDGMENT AND
                                                    PERMANENT INJUNCTION
 23            v.
 24    BALKAMP, INC., NATIONAL                      Hon. Christina A. Snyder
       AUTOMOTIVE PARTS
 25    ASSOCIATION, and DOES 1-10,
 26                    Defendants.
 27
 28
       LAI-2925852v1
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   1           WHEREAS, Mag Instrument, Inc. ("Mag Instrument"), Balkamp, Inc.
   2   ("Balkamp"), and National Automotive Parts Association ("NAPA") have agreed in
   3   a separate agreement to settlement of the matters in issue between them and to entry
   4   of this Consent Judgment and Permanent Injunction, it is hereby ORDERED,
   5   ADJUDGED, AND DECREED THAT:
   6           1.      This is an action for: (1) patent infringement under the patent laws of
   7   the United States, 35 U.S.C. §271, et seq.; (2) federal trademark infringement,
   8   federal false designation of origin, and federal trademark dilution under the
   9   Trademark (Lanham) Act of 1946, as amended, 15 U.S.C. §1051, et seq.; (3)
 10    trademark infringement under California Civil Code §3294; (4) statutory unfair
 11    competition under California Business and Professions Code §17200, et seq.; (5)
 12    trademark dilution under California Business and Professions Code §14247; (6)
 13    common law trademark infringement; and (7) common law unfair competition.
 14            2.      This Court has jurisdiction over all of the parties in this action and
 15    over the subject matter in issue based on 28 U.S.C. §§1331, 1338(a), 1338(b), and
 16    1367(a), as well as 15 U.S.C. §1121(a). This Court further has continuing
 17    jurisdiction to enforce the terms and provisions of this Consent Judgment and
 18    Permanent Injunction. Venue is also proper in this Court pursuant to 28 U.S.C.
 19    §§1391(b) and 1391(c), as well as 28 U.S.C. §1400(b).
 20            3.      Mag Instrument is a corporation incorporated under the laws of the
 21    State of California and has its principal place of business at 2001 South Hellman
 22    Avenue, Ontario, California 91761.
 23            4.      Balkamp is a corporation incorporated under the laws of the State of
 24    Indiana and has its principal place of business at 2601 South Holt Road,
 25    Indianapolis, Indiana 46241.
 26            5.      NAPA is a corporation incorporated under the laws of the State of
 27    Michigan and has its principal place of business at 2999 Circle 75 Parkway,
 28    Atlanta, Georgia 30339.
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   1           6.      Balkamp and NAPA have manufactured, used, marketed, distributed,
   2   advertised, promoted, imported, offered for sale, and/or sold, commercially in
   3   interstate commerce, a certain flashlight, which is shown in Exhibit 1 (the
   4   "Shopworks flashlight"). The Shopworks flashlight was neither manufactured nor
   5   authorized by Mag Instrument.
   6           7.      Mag Instrument is the owner of all right, title, and interest in United
   7   States Patent No. 5,143,441 ("the '441 patent), United States Design Patent No.
   8   D530,438 ("the '438 patent"), and United States Design Patent No. D530,439 ("the
   9   '439 patent"). Copies of the '441 patent, the '438 patent, and the '439 patent are
 10    attached hereto as Exhibits 2-4, respectively.
 11            8.      The '441 patent, issued on September 1, 1992, is valid and enforceable.
 12            9.      The '438 patent, issued on October 17, 2006, is valid and enforceable.
 13            10.     The '439 patent, issued on October 17, 2006, is valid and enforceable.
 14            11.     Neither Balkamp nor NAPA will directly or indirectly aid, assign, or
 15    participate in any action contesting the validity and/or enforceability of the '441
 16    patent, the '438 patent, and/or the '439 patent.
 17            12.     For many years, and prior to the acts of Balkamp and/or NAPA
 18    discussed herein, Mag Instrument has continuously manufactured, advertised,
 19    assembled, marketed, sold, and distributed, in interstate commerce, a line of
 20    flashlights, including, but not limited to, a line of flashlights under the distinctive
 21    trademark MINI MAGLITE®. These flashlights are also characterized by their
 22    distinctive shape, style, and overall appearance ("SSOA"). A digital photograph of
 23    a MINI MAGLITE® flashlight is attached hereto as Exhibit 5.
 24            13.     The SSOA of the MINI MAGLITE® flashlight is non-functional,
 25    distinctive, and has acquired secondary meaning in that it has come to be associated
 26    by the trade and consuming public exclusively with Mag Instrument and, as a
 27    result, has come to signify Mag Instrument as the source of flashlights bearing the
 28    same or similar characteristics.
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   1           14.     Mag Instrument has obtained, and is the owner of, a federal
   2   registration on the SSOA of the MINI MAGLITE® flashlight (the "SSOA
   3   Trademark"), which is valid and enforceable throughout the United States. A copy
   4   of the SSOA Trademark (United States Trademark Registration Number 2,074,795)
   5   is attached hereto as Exhibit 6. This registration remains in full force and effect.
   6           15.     The SSOA Trademark is a distinctive and famous mark.
   7           16.     Balkamp and NAPA began manufacturing, using, marketing,
   8   distributing, advertising, promoting, importing, offering for sale, and/or selling the
   9   Shopworks flashlight subsequent to Mag Instrument's SSOA Trademark becoming
 10    distinctive and famous.
 11            17.     Balkamp and NAPA's manufacture, use, marketing, distribution,
 12    advertising, promotion, importation, offering for sale, and sale of the Shopworks
 13    flashlights was without the prior consent of Mag Instrument.
 14            18.     Balkamp and NAPA, their officers, directors, agents, servants,
 15    employees, attorneys, confederates, and all persons and/or entities acting for, with,
 16    by, through, and/or in concert and participation with them, or any of them, are
 17    hereby permanently enjoined from engaging in any of the following activities:
 18                    (a)   manufacturing, using, marketing, distributing, advertising,
 19    promoting, importing, offering for sale, and/or selling the Shopworks flashlight;
 20                    (b)   manufacturing, using, importing, offering for sale, and/or selling
 21    any flashlight that infringes the '441 patent, the '438 patent, and/or the '439 patent;
 22                    (c)   inducing or enabling each other or others to manufacture, use,
 23    import, offer for sale, and/or sell any flashlight that infringes the '441 patent, the
 24    '438 patent, and/or '439 patent;
 25                    (d)   using Mag Instrument's SSOA Trademark, or any other mark,
 26    design, reproduction, copy, or symbol that is a colorable imitation thereof, or
 27    confusingly similar thereto, in connection with the manufacturing, use, marketing,
 28    distribution, advertisement, promotion, importation, offer for sale, and/or sale of
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   1   flashlights or any goods or services not originating from or authorized by Mag
   2   Instrument;
   3                   (e)   using Mag Instrument's SSOA Trademark, or any other mark,
   4   design, reproduction, copy, or symbol that is a colorable imitation thereof, in any
   5   manner likely to cause confusion, to cause mistake, or to deceive the consuming
   6   public;
   7                   (f)   representing in any manner, or by any method whatsoever, that
   8   goods, services, or other products provided by Balkamp and/or NAPA are
   9   sponsored, approved, authorized by, or originate from Mag Instrument or otherwise
 10    taking any action likely to cause confusion, mistake, or deception as to the origin,
 11    approval, sponsorship, or certification of such goods or services;
 12                    (g)   committing any acts calculated or likely to cause consumers to
 13    believe that Balkamp and/or NAPA's products are Mag Instrument's products or are
 14    authorized by Mag Instrument, unless they are such; and
 15                    (h)   infringing or diluting the distinctive quality of Mag Instrument's
 16    SSOA Trademark.
 17            19.     Service by mail upon Balkamp and NAPA, addressed to James E.
 18    Doroshow, Liner, Yankelevitz, Sunshine & Regenstreif LLP, 1100 Glendon
 19    Avenue, 14th Floor, Los Angeles, California 90024, of a copy of this Consent
 20    Judgment and Permanent Injunction entered by the Court is deemed sufficient
 21    notice under Federal Rule of Civil Procedure 65. It shall not be necessary for
 22    Balkamp or NAPA to sign any form of acknowledgement of service.
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   1           20.     The parties shall bear their own attorneys' fees and costs.
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   3   IT IS SO ORDERED:
   4
   5   Dated: May 5, 2008
   6
   7                                               By:
                                                     Hon. Christina A. Snyder
   8                                                 United States District Court Judge
   9
 10    Approved as to form and content:
 11
 12    Dated: May 1, 2008                          JONES DAY
 13
 14
                                                   By:            /S/
 15                                                  Charles A. Kertell
 16                                                Attorneys for Plaintiff
                                                   MAG INSTRUMENT, INC.
 17
 18    Dated: April 30, 2008                       LINER, YANKELEVITZ, SUNSHINE
                                                   & REGENSTREIF LLP
 19
 20
 21                                                By:            /S/
                                                     Michael M. Carlson
 22
                                                   Attorneys for Defendants
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                                                   AUTOMOTIVE PARTS ASSOCIATION
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